            Case 2:05-cr-00417-RSM            Document 99     Filed 12/19/05      Page 1 of 1



 1

 2

 3

 4

 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                       )
                                                      )
 8                               Plaintiff,           )
 9                         vs.                        )
                                                      )                CR05-417 JCC
10
      ABRAHAM SHEENA and LUCUS QUILT,                 )
11                                                    )
                                 Defendant.           )             MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
14

15
            In light of the government’s withdrawal of the request for a review of the appearance
16
     bonds of the above named defendants (dkt #98), the hearing scheduled for Wednesday, December
17
     21, 2005, is hereby STRICKEN.
18

19

20

21

22

23                                Dated this 19th day of December , 2005
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
